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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re:
                                                               03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001


Matthew Rowenhorst, individually, as surviving
sibling of Edward Rowenhorst
                                                          Civil Docket Number: _____________
John Doe 53, being intended to designate the Personal
Representative of the Estate of Edward Rowenhorst,
deceased, said name being fictitious, her/his true name       IRAN SHORT FORM
is not presently known, confirmed, and/or has not been      COMPLAINT AND DEMAND
duly appointed by a court of competent jurisdiction (or       FOR TRIAL BY JURY
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Edward
Rowenhorst
John Doe 54, being intended to designate the Personal
Representative of the Estate of Michael Russo,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Michael Russo
Anthony F. Russo, individually, as surviving sibling of
Michael Russo
John Doe 55, being intended to designate the Personal
Representative of the Estate of Nolbert Salomon,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Nolbert Salomon


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John Doe 56, being intended to designate the Personal
Representative of the Estate of Kathryn A. Shatzoff,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Kathryn A.
Shatzoff
John Doe 57, being intended to designate the Personal
Representative of the Estate of Gregory Sikorsky,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Gregory Sikorsky
George Sikorsky, individually, as surviving sibling of
Gregory Sikorsky
Perry J. Sikorsky, individually, as surviving sibling of
Gregory Sikorsky
John Doe 58, being intended to designate the Personal
Representative of the Estate of Arthur Simon,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Arthur Simon
John Doe 59, as Personal Representative of the Estate
of Kenneth Simon, deceased, the late child of Arthur
Simon
John Doe 60, being intended to designate the Personal
Representative of the Estate of Kenneth Simon,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has

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expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Kenneth Simon
Mandy Exantus, individually, as surviving sibling of
Kenneth Simon
Todd Simon, individually, as surviving sibling of
Kenneth Simon
Susan Simon, individually, as surviving parent of
Kenneth Simon
Jennifer Simon Berardi, individually, as surviving
sibling of Kenneth Simon
John Doe 61, as Personal Representative of the Estate
of Arthur Simon, deceased, the late parent of Kenneth
Simon
John Doe 62, being intended to designate the Personal
Representative of the Estate of Timothy Stackpole,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Timothy
Stackpole
Michael Stackpole, individually, as surviving sibling
of Timothy Stackpole
Edward Stackpole, individually, as surviving sibling
of Timothy Stackpole
Kathy Buell, individually, as surviving sibling of
Timothy Stackpole
Patricia Murphy, individually, as surviving sibling of
Timothy Stackpole
Jordanis Theodoridis, individually, as surviving
sibling of Michael Theodoridis
Jordanis Theodoridis, as the Personal Representative
of the Estate of Michael Theodoridis, deceased, and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Michael
Theodoridis

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Jordanis Theodoridis, as Personal Representative of
the Estate of Constantinos Theodoridis, deceased, the
late parent of Michael Theodoridis
Margarita Theodoridis, individually, as surviving
parent of Michael Theodoridis
Haleema Salie, as Personal Representative of the
Estate of Rahma Salie, deceased, the late spouse of
Michael Theodoridis
Nia Jah-Selah Thompson, individually, as surviving
child of Vanavah Thompson
Tsahai S. Santiago, individually, as surviving sibling
of Vanavah Thompson
Rahsaan Thompson, individually, as surviving child of
William Harry Thompson
Michael K. Thompson, individually, as surviving child
of William Harry Thompson
Michael K. Thompson, as the Personal Representative
of the Estate of William Harry Thompson, deceased,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of William Harry
Thompson
Margaret M. Tobin, individually, as surviving sibling
of John Tobin
Michael Tobin, individually, as surviving sibling of
John Tobin
Jennifer Dolan, individually, as surviving child of
John Tobin
Barbara Tobin, individually, as surviving spouse of
John Tobin
Barbara Tobin, as the Personal Representative of the
Estate of John Tobin, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and
family members of John Tobin
Sean Tobin, individually, as surviving child of John
Tobin
Salvatore M. Traina Jr., individually, as surviving
sibling of Christopher M. Traina
Vasanta Velamuri, as the Personal Representative of
the Estate of Sankara Velamuri, deceased, and on
behalf of all survivors and all legally entitled

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beneficiaries and family members of Sankara
Velamuri
Jennica Perez a/k/a Jennica Vera, individually, as
surviving child of David Vera
Jennica Perez a/k/a Jennica Vera, as the Personal
Representative of the Estate of David Vera, deceased,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of David Vera
Javier Guzman, individually, as surviving sibling of
David Vera
Clotilda Vola as Personal Representative of the Estate
of John Vola, deceased, the late parent of Maria P.
Vola
Clotilda Vola as Personal Representative of the Estate
of Rita Vola, deceased, the late parent of Maria P.
Vola
Clarissa B. Kirschenbaum, individually, as surviving
sibling of Victor Wald
John Doe 63, being intended to designate the Personal
Representative of the Estate of Robert F. Wallace,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Robert F.
Wallace
Shirley Nottingham, individually, as surviving sibling
of Leonard A. White
Shirley Nottingham, as the Personal Representative of
the Estate of Leonard A. White, deceased, and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Leonard A.
White
Shirley Nottingham as Personal Representative of the
Estate of Thelma White, deceased, the late parent of
Leonard A. White
Marc C. White, individually, as surviving sibling of
Malissa White


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Sylvia Ball, individually, as surviving sibling of
Malissa White
John Doe 64, being intended to designate the Personal
Representative of the Estate of Sandra L. White,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Sandra L. White
John Doe 65, being intended to designate the Personal
Representative of the Estate of Wayne White,
deceased, said name being fictitious, her/his true name
is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or
having been so appointed, his or her appointment has
expired, and/or he or she has ceased to serve, and his
or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Wayne White
Daren White, individually, as surviving sibling of
Wayne White
Showkatara Sharif, as the Personal Representative of
the Estate of Shakila Yasmin, deceased, and on behalf
of all survivors and all legally entitled beneficiaries
and family members of Shakila Yasmin
John Doe 66 as Personal Representative of the Estate
of Nurul Miah, deceased, the late spouse of Shakila
Yasmin
Mary Kessler, individually, as surviving sibling of
Suzanne Youmans
Mary Kessler, as the Personal Representative of the
Estate of Suzanne Youmans, deceased, and on behalf
of all survivors and all legally entitled beneficiaries
and family members of Suzanne Youmans
Joan Youmans as Personal Representative of the
Estate of John Youmans, deceased, the late sibling of
Suzanne Youmans
BNY Mellon, as the Personal Representative of the
Estate of Martin Morales Zempoaltecatl, deceased, and


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on behalf of all survivors and all legally entitled
beneficiaries and family members of Martin Morales
Zempoaltecatl
Julia Morales Zempoaltecatl, individually, as
surviving sibling of Martin Morales Zempoaltecatl
Maria P.M. Zempoaltecatl Cortez, individually, as
surviving parent of Martin Morales Zempoaltecatl
Benjamin Morales Zempoaltecatl, individually, as
surviving sibling of Martin Morales Zempoaltecatl
Jose Morales Zempoaltecatl, individually, as surviving
sibling of Martin Morales Zempoaltecatl
Delfino Morales Zempoaltecatl, individually, as
surviving sibling of Martin Morales Zempoaltecatl
Eusebio Morales Zempoaltecatl, individually, as
surviving sibling of Martin Morales Zempoaltecatl
Glafira Morales Zempoaltecatl, individually, as
surviving sibling of Martin Morales Zempoaltecatl
Gonzalo Morales, individually, as surviving sibling of
Martin Morales Zempoaltecatl
Daryl Gabriel, individually, as surviving child of
Benilda Domingo
Jessica K. Kostaris, individually, as surviving child of
Bruce Gary
Richard Gary, individually, as surviving child of
Bruce Gary
Kristen C. Graf, individually, as surviving child of
Edwin John Graf III
Tyler W. Graf, individually, as surviving child of
Edwin J. Graf, III
Wesley J. Graf, individually, as surviving child of
Edwin J. Graf, III
Jane Doe 69, as Personal Representative of the Estate
of William J. Houston, deceased, the late sibling of
Charles J. Houston
Andrew McMahon, individually, as surviving sibling
of Robert D. McMahon
Damon McMahon, individually, as surviving sibling
of Robert D. McMahon
Constance Muldowney, individually, as surviving

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spouse of Richard Muldowney
Constance Muldowney, as the Personal Representative
of the Estate of Richard Muldowney, deceased, and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Richard
Muldowney
John Muldowney, individually, as surviving child of
Richard Muldowney
Constance Muldowney as Personal Representative of
the Estate of Kathryn Muldowney, deceased, the late
child of Richard Muldowney
Thomas F. Owens, individually, as surviving sibling
of Peter Owens
John Owens, individually, as surviving sibling of Peter
Owens
Terence Owens, individually, as surviving sibling of
Peter Owens
Kevin Owens, individually, as surviving sibling of
Peter Owens
Susan G. Rescorla, individually, as surviving spouse
of Richard C. Rescorla
Susan G. Rescorla, as the Personal Representative of
the Estate of Richard C. Rescorla, deceased, and on
behalf of all survivors and all legally entitled
beneficiaries and family members of Richard C.
Rescorla
Trevor S. Rescorla, individually, as surviving child of
Richard C. Rescorla
Kimberly J. Rescorla, individually, as surviving child
of Richard C. Rescorla
Andrew Soulas, individually, as surviving child of
Timothy Soulas
Christopher Soulas, individually, as surviving child of
Timothy Soulas
Matthew Soulas, individually, as surviving child of
Timothy Soulas
Timothy Soulas Jr., individually, as surviving child of
Timothy Soulas
Katherine Soulas, individually, as surviving spouse of


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Timothy Soulas
Katherine Soulas, as the Personal Representative of
the Estate of Timothy Soulas, deceased, and on behalf
of all survivors and all legally entitled beneficiaries
and family members of Timothy Soulas
Katherine Soulas, as Natural Guardian of DRS, a
minor, as surviving child of Timothy Soulas
Aaron Straub, individually, as surviving child of
Edward Straub
                                      Plaintiffs,
                        -against-
Islamic Republic of Iran,
                                      Defendant.


        Plaintiffs named herein by and through the undersigned counsel file this Short Form

Complaint against Defendant, the Islamic Republic of Iran (“Iran”), arising out of the September

11, 2001 terrorist attacks (“September 11, 2001 Terrorist Attacks”), as permitted and approved

by the Court’s Order of July 10, 2018, ECF No. 4045. Each Plaintiff incorporates by reference

the specific allegations, as indicated below, of (a) the Federal Insurance and Ashton Plaintiffs’

Amended Consolidated Complaint Against Defendant, the Islamic Republic of Iran, ECF No.

3237, or (b) the Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903

(GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53.

        Upon filing this Iran Short Form Complaint, each Plaintiff is deemed to have adopted all

factual and jurisdictional allegations of the complaint that has been joined as specified below; all

causes of action contained within that complaint; all prior filings in connection with that

complaint; and all prior Orders and rulings of the Court in connection with that complaint.

        Additionally, each Plaintiff incorporates the factual allegations and findings contained in

those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848 (GBD)(SN)


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(S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001, 03-MDL-

1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516; and

evidence submitted at the proceedings before the Honorable George B. Daniels on December 15,

2011 (ECF No. 2540).

                                                 VENUE

        1.         Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and

1391(f)(1), as a substantial part of the events giving rise to the claims asserted herein occurred in

this district. Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                            JURISDICTION

        2.         Jurisdiction against the Islamic Republic of Iran is premised on the grounds set

forth in the complaints specified below, including but not limited to 28 U.S.C. § 1605(a) (tort

exception to the Foreign Sovereign Immunities Act), 28 U.S.C. § 1605A (terrorism exception to

the Foreign Sovereign Immunities Act), and 28 U.S.C. § 1605B (Justice Against Sponsors of

Terrorism Act).

                                         CAUSES OF ACTION

        3.         Each Plaintiff hereby adopts and incorporates by reference all factual allegations,

jurisdictional allegations, and jury trial demand, including all causes of action against the Islamic

Republic of Iran, as set forth in the following complaint [check only one complaint]:

              Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
             Against Defendant, the Islamic Republic of Iran, ECF No. 3237

              Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
             (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53

        4.         In addition, each Plaintiff hereby asserts the following additional causes of action:

         Iran Short Form Complaint First Cause of Action to Recover Wrongful Death
        Damages Pursuant to 28 U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act
        or JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

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             As a factual basis for this cause of action, Plaintiff(s) allege that the allegations set
             forth in the complaint noted above, as well as the allegations set forth in the Havlish
             filings noted above, establish that, as set forth herein, the injuries they suffered arose
             from the September 11, 2001 Terrorist Attacks; Defendant’s role in the September 11,
             2001 Terrorist Attacks constituted acts of international terrorism that violated state
             and federal laws pursuant to 18 U.S.C. § 2331; that the September 11, 2001 Terrorist
             Attacks constituted acts of international terrorism committed, planned or authorized
             by an organization that had been designated as a foreign terrorist organization under 8
             U.S.C. § 1189; that the September 11, 2001 Terrorist Attacks violated state and
             federal laws pursuant to 18 U.S.C. § 2331; and that Defendant aided and abetted, by
             knowingly providing substantial assistance, with others and/or conspired with others
             who committed an act or acts of international terrorism in violation of 18 U.S.C.
             § 2333 et seq.

         Iran Short Form Complaint First Cause of Action to Recover Personal Injury Damages
        Pursuant to 28 U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
        JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

             As a factual basis for this cause of action, Plaintiff(s) allege that the allegations set
             forth in the complaint noted above, as well as the allegations set forth in the Havlish
             filings noted above, establish that, as set forth herein, the injuries they suffered arose
             from the September 11, 2001 Terrorist Attacks; Defendant’s role in the September 11,
             2001 Terrorist Attacks constituted acts of international terrorism that violated state
             and federal laws pursuant to 18 U.S.C. § 2331; that the September 11, 2001 Terrorist
             Attacks constituted acts of international terrorism committed, planned or authorized
             by an organization that had been designated as a foreign terrorist organization under 8
             U.S.C. § 1189; that the September 11, 2001 Terrorist Attacks violated state and
             federal laws pursuant to 18 U.S.C. § 2331; and that Defendant aided and abetted, by
             knowingly providing substantial assistance, with others and/or conspired with others
             who committed an act or acts of international terrorism in violation of 18 U.S.C.
             § 2333 et seq.

                             IDENTIFICATION OF NEW PLAINTIFFS

        5.         The following allegations and information are alleged on behalf of each

individual who is bringing this claim, as indicated on Appendix 1 to this Iran Short Form

Complaint, herein referred to as “Plaintiffs.”

                   a. The citizenship/nationality of each Plaintiff is indicated at Appendix 1 to this
                      Iran Short Form Complaint.

                   b. Plaintiff is entitled to recover damages on the causes of action set forth in the
                      complaint identified above, as joined by this Iran Short Form Complaint, and
                      as further asserted within this Iran Short Form Complaint.


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                   c. As indicated at Appendix 1, Plaintiff (i) is the estate representative of
                      someone who was killed as a result of the September 11, 2001 Terrorist
                      Attacks; (ii) is the surviving immediate family member of someone who was
                      killed as a result of the September 11, 2001 Terrorist Attacks; and/or
                      (iii) suffered physical injuries as a result of the September 11, 2001 Terrorist
                      Attacks.

                   d. For those plaintiffs with personal injury claims, as indicated in Appendix 1, on
                      or after September 11, 2001, said Plaintiff was present at the Pentagon and/or
                      the World Trade Center site and/or its surroundings and/or lower Manhattan
                      and/or at an area wherein he/she was exposed to toxins as a result of the
                      terrorist attacks and was exposed to toxins from the attacks, and/or was
                      otherwise injured, and/or as otherwise alleged, as stated specifically in
                      Appendix 1.

                   e. For those plaintiffs with personal injury and/or wrongful death claims, as
                      indicated in Appendix 1, as a direct, proximate and foreseeable result of
                      Defendant’s actions or inactions, Plaintiff or his or her decedent suffered
                      bodily injury and/or death, and consequently economic and other losses,
                      including but not limited to pain and suffering, emotional distress,
                      psychological injuries, and loss of enjoyment of life, and/or as described in the
                      Iran Short Form Complaint, and/or as otherwise may be specified in
                      subsequent discovery proceedings, and/or as otherwise alleged in Appendix 1.

                   f. The name, relationship to the injured and/or deceased September 11 victim,
                      residency, citizenship/nationality, and the general nature of the claim for each
                      plaintiff asserting wrongful death and/or solatium claims is listed on the
                      attached Appendix 1, and is incorporated herein as allegations, with all
                      allegations of the related complaints, as specified above, deemed alleged as to
                      each Plaintiff.

                             IDENTIFICATION OF THE DEFENDANT

        6.         The only Defendant named in this Iran Short Form Complaint is the Islamic

Republic of Iran.

                                 NO WAIVER OF OTHER CLAIMS

        7.         By filing this Iran Short Form Complaint, Plaintiffs are not waiving any right to

file suit against any other potential defendants or parties.

        8.         By filing this Iran Short Form Complaint, Plaintiffs are not opting out of any class

that the Court may certify in the future.



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                                            JURY DEMAND

        9.         Each Plaintiff hereby demands a trial by jury as to the claims in this action.

        WHEREFORE, Plaintiffs pray for relief and judgment against Defendant as set forth in

this Iran Short Form Complaint as appropriate.

Dated: December 31, 2018
                                                      Respectfully submitted,


                                                      /s/ Bruce Strong
                                                      Jerry S. Goldman
                                                      Bruce Strong
                                                      ANDERSON KILL P.C.
                                                      1251 Avenue of the Americas
                                                      New York, New York
                                                      Telephone: 212-278-1000
                                                      jgoldman@andersonkill.com
                                                      bstrong@andersonkill.com

                                                      Attorneys for Plaintiffs




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                                                      APPENDIX

    Each line below is deemed an allegation, incorporating the allegations, language, and references

    within the Iran Short Form Complaint to which this Appendix 1 is appended and shall be

    referenced as Allegation 1 of Appendix 1 to the Iran Short Form Complaint, Allegation 2 of

    Appendix 1 to the Iran Short Form Complaint, etc.


                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
         (alphabetical by last Residency at                                    Relationship to Citizenship/
                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


1       Matthew              IA            United         Edward              Sibling          United          Solatium
        Rowenhorst                         States         Rowenhorst                           States

2       John Doe 53          VA            United         Edward              PR               United          Solatium/
                                           States         Rowenhorst                           States          Wrongful Death

3       John Doe 54          NY            United         Michael Russo       PR               United          Solatium/
                                           States                                              States          Wrongful Death

4       Anthony F.           NJ            United         Michael Russo       Sibling          United          Solatium
        Russo                              States                                              States

5       John Doe 55          NY            United         Nolbert Salomon PR                   United          Solatium/
                                           States                                              States          Wrongful Death

6       John Doe 56          NY            United         Kathryn A.          PR               United          Solatium/
                                           States         Shatzoff                             States          Wrongful Death

7       John Doe 57          NY            United         Gregory Sikorsky PR                  United          Solatium/
                                           States                                              States          Wrongful Death

8       George Sikorsky NY                 United         Gregory Sikorsky Sibling             United          Solatium
                                           States                                              States

9       Perry J. Sikorsky NY               United         Gregory Sikorsky Sibling             United          Solatium
                                           States                                              States



    1
      For those identified as “PR,” such claim is made as the Personal Representative of the Decedent’s Estate and on
    behalf of all survivors and all legally entitled beneficiaries and family members of such Decedent as noted in the
    case caption.
    2
      The PRs identified below are bringing solatium claims on behalf of all survivors and all legally entitled
    beneficiaries and family members of such Decedent as noted in the case caption.


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                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
         (alphabetical by last Residency at                                    Relationship to Citizenship/
                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


10       John Doe 58        NY             United        Arthur Simon        PR               United           Solatium/
                                           States                                             States           Wrongful Death

11       John Doe 59, as NJ                United        Arthur Simon        Child            United           Solatium
         Personal                          States                            (Deceased)       States
         Representative of
         the Estate of
         Kenneth Simon

12       John Doe 60        NJ             United        Kenneth Simon       PR               United           Solatium/
                                           States                                             States           Wrongful Death

13       Mandy Exantus      CA             United        Kenneth Simon       Sibling          United           Solatium
                                           States                                             States

14       Todd Simon         CA             United        Kenneth Simon       Sibling          United           Solatium
                                           States                                             States

15       Susan Simon        SC             United        Kenneth Simon       Parent           United           Solatium
                                           States                                             States

16       Jennifer Simon     NY             United        Kenneth Simon       Sibling          United           Solatium
         Berardi                           States                                             States

17       John Doe 61, as NY                United        Kenneth Simon       Parent           United           Solatium
         Personal                          States                            (Deceased)       States
         Representative of
         the Estate of
         Arthur Simon

18       John Doe 62        NY             United        Timothy             PR               United           Solatium/
                                           States        Stackpole                            States           Wrongful Death

19       Michael            NY             United        Timothy             Sibling          United           Solatium
         Stackpole                         States        Stackpole                            States

20       Edward             NY             United        Timothy             Sibling          United           Solatium
         Stackpole                         States        Stackpole                            States

21       Kathy Buell        NY             United        Timothy             Sibling          United           Solatium
                                           States        Stackpole                            States

22       Patricia Murphy NY                United        Timothy             Sibling          United           Solatium
                                           States        Stackpole                            States



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                                Plaintiff’s                                                        9/11
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           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
         (alphabetical by last Residency at                                    Relationship to Citizenship/
                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


23       Jordanis           Switzerland Switzerland Michael                  Sibling          Switzerland Solatium
         Theodoridis                                Theodoridis

24       Jordanis           Switzerland Switzerland Michael                  PR               Switzerland Solatium/
         Theodoridis                                Theodoridis                                           Wrongful Death

25       Jordanis          Switzerland Switzerland Michael                   Parent           Switzerland Solatium
         Theodoridis, as                           Theodoridis               (Deceased)
         Personal
         Representative of
         the Estate of
         Constantinos
         Theodoridis

26       Margarita          Switzerland Switzerland Michael                  Parent           Switzerland Solatium
         Theodoridis                                Theodoridis

27       Haleema Salie, as MA              Sri Lanka     Michael             Spouse           Greece           Solatium
         Personal                                        Theodoridis         (Deceased)
         Representative of
         the Estate of
         Rahma Salie

28       Nia Jah-Selah      NC             United        Vanavah             Child            Guyana           Solatium
         Thompson                          States        Thompson

29       Tsahai S.          NY             Guyana        Vanavah             Sibling          Guyana           Solatium
         Santiago                                        Thompson

30       Rahsaan            NJ             United        William Harry       Child            United           Solatium
         Thompson                          States        Thompson                             States

31       Michael K.         NJ             United        William Harry       Child            United           Solatium
         Thompson                          States        Thompson                             States

32       Michael K.         NJ             United        William Harry       PR               United           Solatium/
         Thompson                          States        Thompson                             States           Wrongful Death

33       Margaret M.        NY             United        John Tobin          Sibling          United           Solatium
         Tobin                             States                                             States

34       Michael Tobin      NJ             United        John Tobin          Sibling          United           Solatium
                                           States                                             States




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                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
         (alphabetical by last Residency at                                    Relationship to Citizenship/
                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


35       Jennifer Dolan     NJ             United        John Tobin          Child            United           Solatium
                                           States                                             States

36       Barbara Tobin      NJ             United        John Tobin          Spouse           United           Solatium
                                           States                                             States

37       Barbara Tobin      NJ             United        John Tobin          PR               United           Solatium/
                                           States                                             States           Wrongful Death

38       Sean Tobin         NJ             United        John Tobin          Child            United           Solatium
                                           States                                             States

39       Salvatore M.       NJ             United        Christopher M.      Sibling          United           Solatium
         Traina Jr.                        States        Traina                               States

40       Vasanta            NJ             United        Sankara             PR               United           Solatium/
         Velamuri                          States        Velamuri                             States           Wrongful Death

41       Jennica Perez      NY             United        David Vera          Child            United           Solatium
         a/k/a Jennica                     States                                             States
         Vera

42       Jennica Perez      NY             United        David Vera          PR               United           Solatium/
         a/k/a Jennica                     States                                             States           Wrongful Death
         Vera

43       Javier Guzman      PA             United        David Vera          Sibling          United           Solatium
                                           States                                             States

44       Clotilda Vola as NY               United        Maria P. Vola       Parent           United           Solatium
         Personal                          States                            (Deceased)       States
         Representative of
         the Estate of John
         Vola

45       Clotilda Vola as NY               United        Maria P. Vola       Parent           United           Solatium
         Personal                          States                            (Deceased)       States
         Representative of
         the Estate of Rita
         Vola

46       Clarissa B.        NY             United        Victor Wald         Sibling          United           Solatium
         Kirschenbaum                      States                                             States




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                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
         (alphabetical by last Residency at                                    Relationship to Citizenship/
                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


47       John Doe 63        NY             United        Robert F.           PR               United           Solatium/
                                           States        Wallace                              States           Wrongful Death

48       Shirley            VA             United        Leonard A.          Sibling          United           Solatium
         Nottingham                        States        White                                States

49       Shirley            VA             United        Leonard A.          PR               United           Solatium/
         Nottingham                        States        White                                States           Wrongful Death

50       Shirley           VA              United        Leonard A.          Parent           United           Solatium
         Nottingham as                     States        White               (Deceased)       States
         Personal
         Representative of
         the Estate of
         Thelma White

51       Marc C. White      TN             United        Malissa White       Sibling          United           Solatium
                                           States                                             States

52       Sylvia Ball        AR             United        Malissa White       Sibling          United           Solatium
                                           States                                             States

53       John Doe 64        VA             United        Sandra L. White PR                   United           Solatium/
                                           States                                             States           Wrongful Death

54       John Doe 65        NY             United        Wayne White         PR               United           Solatium/
                                           States                                             States           Wrongful Death

55       Daren White        NY             United        Wayne White         Sibling          United           Solatium
                                           States                                             States

56       Showkatara         VA             United        Shakila Yasmin      PR               United           Solatium/
         Sharif                            States                                             States           Wrongful Death

57       John Doe 66 as NY                 United        Shakila Yasmin      Spouse           United           Solatium
         Personal                          States                            (Deceased)       States
         Representative of
         the Estate of
         Nurul Miah

58       Mary Kessler       OH             United        Suzanne             Sibling          United           Solatium
                                           States        Youmans                              States




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                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
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                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


59       Mary Kessler       OH             United        Suzanne             PR               United           Solatium/
                                           States        Youmans                              States           Wrongful Death

60       Joan Youmans as NY                United        Suzanne             Sibling          United           Solatium
         Personal                          States        Youmans             (Deceased)       States
         Representative of
         the Estate of John
         Youmans

61       BNY Mellon         NY             United        Martin Morales      PR               United           Solatium/
                                           States        Zempoaltecatl                        States           Wrongful Death

62       Julia Morales      Mexico         Mexico        Martin Morales      Sibling          Mexico           Solatium
         Zempoaltecatl                                   Zempoaltecatl

63       Maria P.M.         NY             Mexico        Martin Morales      Parent           Mexico           Solatium
         Zempoaltecatl                                   Zempoaltecatl
         Cortez

64       Benjamin           Mexico         Mexico        Martin Morales      Sibling          Mexico           Solatium
         Morales                                         Zempoaltecatl
         Zempoaltecatl

65       Jose Morales       NY             Mexico        Martin Morales      Sibling          Mexico           Solatium
         Zempoaltecatl                                   Zempoaltecatl

66       Delfino Morales Mexico            Mexico        Martin Morales      Sibling          Mexico           Solatium
         Zempoaltecatl                                   Zempoaltecatl

67       Eusebio Morales NY                Mexico        Martin Morales      Sibling          Mexico           Solatium
         Zempoaltecatl                                   Zempoaltecatl

68       Glafira Morales Mexico            Mexico        Martin Morales      Sibling          Mexico           Solatium
         Zempoaltecatl                                   Zempoaltecatl

69       Gonzalo Morales NY                Mexico        Martin Morales      Sibling          Mexico           Solatium
                                                         Zempoaltecatl

70       Daryl Gabriel      NY             United        Benilda Domingo Child                Philippines Solatium
                                           States
71       Jessica K.         NY             United        Bruce Gary          Child            United           Solatium
         Kostaris                          States                                             States
72       Richard Gary       NY             United        Bruce Gary          Child            United           Solatium
                                           States                                             States

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                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
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                                            Nationality on       Name                                           solatium, personal
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                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


73       Kristen C. Graf    MD             United        Edwin John Graf Child                United           Solatium
                                           States        III                                  States
74       Tyler W. Graf      CA             United        Edwin J. Graf, III Child             United           Solatium
                                           States                                             States
75       Wesley J. Graf     GA             United        Edwin J. Graf, III Child             United           Solatium
                                           States                                             States
76       Jane Doe 69, as NY                United        Charles J.          Sibling          United           Solatium
         Personal                          States        Houston             (Deceased)       States
         Representative of
         the Estate of
         William J.
         Houston

77       Andrew             NY             United        Robert D.           Sibling          United           Solatium
         McMahon                           States        McMahon                              States
78       Damon              NY             United        Robert D.           Sibling          United           Solatium
         McMahon                           States        McMahon                              States
79       Constance          NY             United        Richard             Spouse           United           Solatium
         Muldowney                         States        Muldowney                            States

80       Constance          NY             United        Richard             PR               United           Solatium/
         Muldowney                         States        Muldowney                            States           Wrongful Death

81       John Muldowney NY                 United        Richard             Child            United           Solatium
                                           States        Muldowney                            States

82       Constance         NY              United        Richard             Child            United           Solatium
         Muldowney as                      States        Muldowney           (Deceased)       States
         Personal
         Representative of
         the Estate of
         Kathryn
         Muldowney

83       Thomas F.          NY             United        Peter Owens         Sibling          United           Solatium
         Owens                             States                                             States

84       John Owens         NY             United        Peter Owens         Sibling          United           Solatium
                                           States                                             States

85       Terence Owens      NY             United        Peter Owens         Sibling          United           Solatium
                                           States                                             States


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                                Plaintiff’s                                                        9/11
                                              Plaintiff’s                                                        Nature of Claim
           Plaintiff’s Name      State of                                         Plaintiff’s  Decedent’s
                                             Citizenship/ 9/11 Decedent's Full                                   (wrongful death,
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                                            Nationality on       Name                                           solatium, personal
                name)           Filing (or                                     9/11 Decedent1 Nationality on
                                               9/11/01                                                                injury)2
                                 death)                                                          9/11/01


86       Kevin Owens        NY             United        Peter Owens         Sibling          United           Solatium
                                           States                                             States

87       Susan G.           NJ             United        Richard C.          Spouse           United           Solatium
         Rescorla                          States        Rescorla                             States
88       Susan G.           NJ             United        Richard C.          PR               United           Solatium/
         Rescorla                          States        Rescorla                             States           Wrongful Death
89       Trevor S.          NJ             United        Richard C.          Child            United           Solatium
         Rescorla                          States        Rescorla                             States
90       Kimberly J.        NJ             United        Richard C.     Child                 United           Solatium
         Rescorla                          States        Rescorla                             States
91       Andrew Soulas      NJ             United        Timothy Soulas Child                 United           Solatium
                                           States                                             States

92       Christopher        NJ             United        Timothy Soulas Child                 United           Solatium
         Soulas                            States                                             States

93       Matthew Soulas NJ                 United        Timothy Soulas Child                 United           Solatium
                                           States                                             States

94       Timothy Soulas NJ                 United        Timothy Soulas Child                 United           Solatium
         Jr.                               States                                             States

95       Katherine Soulas NJ               United        Timothy Soulas Spouse                United           Solatium
                                           States                                             States

96       Katherine Soulas NJ               United        Timothy Soulas PR                    United           Solatium/
                                           States                                             States           Wrongful Death

97       Katherine Soulas NJ               United        Timothy Soulas Child                 United           Solatium
         as Natural                        States                       (Minor)               States
         Guardian of DRS

98       Aaron Straub       FL             United        Edward Straub       Child            United           Solatium
                                           States                                             States




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